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                     EXHIBIT 8
Case 2:22-cv-01527-DAD-AC Document 61-9 Filed 03/06/24 Page 2 of 10




                          In The Matter Of:
                              LONG vs.
                             FERNANDEZ




                           MELANIE SILVA
                                Vol. 2
                           February 9, 2024



                      Challe, Fisher & Morfin
                         1828 South Street
                     Redding, California 96001
                           (530)246-0942
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                          Original File M. Silva, Vol 2.txt
                     Min-U-Script® with Word Index
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 1                 UNITED STATES DISTRICT COURT
 2                EASTERN DISTRICT OF CALIFORNIA
 3                       SACRAMENTO DIVISION
 4
 5   E.L., a minor, by and through     )
     her general guardian, JESSICA     )
 6   LONG; JESSICA LONG, an            )
     individual,                       )
 7                                     )
               Plaintiffs,             )   Case No.
 8   vs.                               )   2:22-cv-01527-DAD-AC
                                       )
 9   LIEUTENANT JERRY FERNANDEZ        )
     individually and in his           )
10   individual capacity as Sheriff    )
     for the County of Shasta;         )
11   DETECTIVE JACOB DUNCAN,           )
     individually and in his           )
12   individual capacity as Sheriff    )
     for the County of Shasta;         )
13   DETECTIVE JEREMY ASHBEE,          )
     individually and in his           )
14   individual capacity as Sheriff    )
     for the County of Shasta;         )
15   SHASTA DISTRICT FAIR AND EVENT    )
     CENTER, a district agricultural   )
16   association; COUNTY OF SHASTA;    )
     SHASTA COUNTY SHERIFF'S           )
17   DEPARTMENT; MELANIE SILVA, in     )
     her individual capacity; BJ       )
18   MACFARLANE, in his individual     )
     capacity; and DOES 1 through      )
19   10,                               )
                                       )
20             Defendants.             )
     __________________________________)
21
22               VIDEO DEPOSITION OF MELANIE SILVA
23                     PAGE 343-443, VOLUME II
24                   FRIDAY, FEBRUARY 9, 2024
25

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 1                            APPEARANCES
 2
     For the Plaintiffs:   LONG, etc.
 3
               ADVANCING LAW FOR ANIMALS
 4             407 N. Pacific Coast Highway, #267
               Redondo Beach, CA 90277
 5             (202) 996-8389
               rgordon@advancinglawforanimals.org
 6             vshakib@advancinglawforanimals.org
 7             BY:   RYAN R. GORDON, ESQ.
                     VANESSA T. SHAKIB, ESQ.
 8
 9   For the Defendant:    LIEUTENANT FERNANDEZ, etc.
10             BEST, BEST & KRIEGER
               2855 East Guasti Road, Suite 400
11             Ontario, CA 91761
               (909) 989-8584
12             damian.northcutt@bbklaw.com
13             ZOOM APPEARANCE BY:    DAMIAN A. NORTHCUTT, ESQ.
14
     For the Defendant:    SHASTA DISTRICT FAIR, etc.
15
               CALIFORNIA ATTORNEY GENERAL'S OFFICE
16             DEPARTMENT OF JUSTICE
               1300 I Street
17             Sacramento, CA 95814-2963
               (916) 210-7529
18             john.bridges@doj.ca.com
19             BY:   JOHN BRIDGES, ESQ.
20
     Also Present:   Terry Fox, Video Specialist
21
22
                              ---oOo-
23
24
25

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                                                  MELANIE SILVA


01:41:05PM   1   Cedar, correct?
01:41:05PM   2   A.      Correct.
01:41:06PM   3   Q.      All right.     Next page.   More notes.   The top
01:41:16PM   4   left corner it says, "Bio on Insta."      Is that some bio
01:41:22PM   5   on Instagram?     Do you know what this is in reference to?
01:41:28PM   6   A.      No.
01:41:28PM   7   Q.      No.    Okay.
01:41:30PM   8   A.      But I have other notes for other things on here,
01:41:32PM   9   so.
01:41:32PM10     Q.      Yeah.     That wasn't meant to mean that it was a
01:41:36PM11     Cedar thing.    I'm just asking what it was for.
01:41:39PM12             Okay.     And "Mike Francesconi" again.    It looks
01:41:42PM13     like you have beneath that "6-28, 9:10 a.m."       Is this
01:41:45PM14     another call at that time with Mike Francesconi?
01:41:48PM15     A.      Yes.
01:41:49PM16     Q.      Okay.     All right.   Regarding Cedar again?
01:41:51PM17     A.      Yes.
01:41:51PM18     Q.      Okay.     And underneath this it says, "Pup goat."
01:41:57PM19     What does that mean?
01:41:58PM20     A.      Pickup.
01:41:58PM21     Q.      Oh, it says "pickup," okay.     Do you see how that
01:42:02PM22     looks like pup?
01:42:03PM23     A.      Uh-huh.
01:42:03PM24     Q.      Okay.     All right.   So "pickup goat.   Don't
01:42:05PM25     pursue charges.    If large" -- what were you -- what is

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                                                MELANIE SILVA


01:42:09PM   1   the direction -- there's not commas so I don't want to
01:42:14PM   2   read it and you can tell me what you were trying to say
01:42:14PM   3   here.
01:42:14PM   4   A.      "Pick up goats.   Don't pursue charges.   If large
01:42:18PM   5   group, back off.    Don't comment."
01:42:21PM   6   Q.      Okay.   All right.   So this is around June 28th,
01:42:24PM   7   correct?
01:42:25PM   8   A.      Yes.
01:42:26PM   9   Q.      Okay.   So at that point in time you were not
01:42:29PM10     pursuing charges?   Or what does this mean, "don't pursue
01:42:34PM11     charges."
01:42:34PM12     A.      This is the 28th.    It's three days after fair.
         13      Q.      Yes.
01:42:37PM14     A.      So we were just trying to get the goat back.
01:42:39PM15     Q.      Okay.   Did Mike Francesconi tell you not to
01:42:41PM16     pursue charges at that time?
01:42:42PM17     A.      I don't know that it came up at that time.
01:42:45PM18     Q.      Okay.
01:42:46PM19     A.      Well, "don't pursue charges."     We're just trying
01:42:50PM20     to get the goat right now.
01:42:51PM21     Q.      Okay.   What does it mean "if large group, back
01:42:56PM22     off"?
01:42:57PM23     A.      For safety.
01:43:00PM24     Q.      Okay.   If large group of what?   Like in relation
01:43:04PM25     to Cedar?

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                                                   MELANIE SILVA


02:10:01PM   1           So let's start on page two.        So you looked for
02:10:05PM   2   email correspondence with Ms. Muse regarding articles
02:10:09PM   3   concerning Cedar pending litigation.
02:10:11PM   4           I did see you produced you said an article that
02:10:14PM   5   Ms. Muse sent to you and an email, I believe, correct?
02:10:19PM   6   Was there anything else that you found?
02:10:20PM   7   A.      No.
02:10:21PM   8   Q.      Just the one, okay.
02:10:23PM   9           And slaughter bill regarding slaughter of Cedar
02:10:29PM10     indicating by ear tag 367, you found no such bill?
02:10:35PM11     A.      The only bills I found were the ones you had
02:10:39PM12     already put in.
02:10:40PM13     Q.      Okay.     Okay.    And then documents reflecting
02:10:42PM14     final payment of Cedar by the Dahles.        Did you ever get
02:10:45PM15     the Dahles' payment documents for Cedar?
02:10:47PM16     A.      I don't believe they paid.
02:10:48PM17     Q.      You don't believe they paid?
02:10:50PM18     A.      No.
02:10:50PM19     Q.      Okay.     Did Ms. Muse pay on their behalf?
02:10:53PM20     A.      No.
02:10:53PM21     Q.      Okay.     All right.    And then emails to and from
02:10:59PM22     the CDFA concerning Cedar or this litigation.        You
02:11:03PM23     produced everything you found in relation to that, I
02:11:06PM24     presume?
02:11:07PM25     A.      Yes.

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 1                       PENALTY OF PERJURY
 2        Please be advised I have read the foregoing
 3        deposition, and I hereby state there are:
 4
 5        (Check one)      ______ no corrections
 6                         ______ corrections attached
 7
 8        Executed on ______________________________
 9                            Date
10
11                      _______________________________
                         MELANIE SILVA
12
13
14
15                            ---oOo---
16
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 1               DEPONENT'S CHANGES OR CORRECTIONS
 2   Note: If you are adding to your testimony, print the
     exact words you want to add. If you are deleting from
 3   your testimony, print the exact words you want to
     delete. Specify with "Add" or "Delete" before each
 4   entry. Please sign and date this form.
 5   Deposition of: MELANIE SILVA
     Name of Case: LONG vs. FERNANDEZ, etc.
 6   Date of Deposition: FEBRUARY 9, 2023
 7
     I, _____________________________________, have made the
 8   following changes in my deposition:
 9   PAGE      LINE       ADD/DELETE
10   ____      ____       __________________________________
11
     ____      ____       __________________________________
12
13   ____      ____       __________________________________
14
     ____      ____       __________________________________
15
16   ____      ____       __________________________________
17
     ____      ____       __________________________________
18
19   ____      ____       __________________________________
20
     ____      ____       __________________________________
21
22   ____      ____       __________________________________
23
     ____      ____       __________________________________
24
25   SIGNATURE _____________________________DATE __________

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 1                       REPORTER'S CERTIFICATE
 2
 3              I hereby certify that the witness in the
 4   foregoing deposition was duly sworn by me to tell the
 5   truth, the whole truth, and nothing but the truth in the
 6   within-entitled cause; that said deposition was taken at
 7   the time and place herein named; and that the testimony
 8   of said witness was reported by me, a duly certified
 9   shorthand reporter and disinterested person, and was
10   thereafter transcribed under my direction by
11   computer-assisted transcription.
12              I further certify that I am not of counsel or
13   attorney for either or any of the parties to said
14   deposition, nor in any way interested in the outcome of
15   the case named in said caption.
16              IN WITNESS WHEREOF, I have hereunto set my
17   hand.
18
19              DATED:    FEBRUARY 26, 2024
20
21
22              _________________________________________
23                   SUZANNA MICKELSON, CSR No. 14270
24                          State of California
25

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